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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




                                        United StXtes District Court
                                                                     for the

                                                                    District of


                                                                        Division


                                  LoCw'to                                      Case No.
            ^S7Ofc-orj-                                                                   (to befilled in by the Clerk's Office)

                              Plaintiff(s)
(Write thefull name ofeach plaintijfwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,
please write "see attached" in the space and attach an additional
                                                                               Jury Trial: (check one) ^ Yes □ No
page with thefull list ofnames.)
                                  -V-



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                                                                                                              AUG 3 1 2023
i^r^oo /rfy/o / /vtAAj ypr)r                                                                              PROSE OFFICE

                            Defendant(s)
(Write thefull name ofeach defendant who is being sued Ifthe
names ofall the defendants cannotfit in the space above, please
write see attached" in the space and attach an additionalpage
with thefull list ofnames.)



                                                   COMPLAINT FOR A CIVIL CASE


I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.

                               Name                                                                           fZPQ                 fj
                               Street Address
                               City and County
                               State and Zip Code                 QroolrLy^ ytdAjVar/r                        11^1,%
                               Telephone Number
                               E-mail Address


         B.         The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (ifknown). Attach additional pages if needed.

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